           Case 1:11-cv-01563-CM Document 34 Filed 04/11/12 Page 1 of 6




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

ZULEIKA POLONIA,                                                           Docket:
                                                                           1 l-CV-1563
                                     P1aintift

           -against-                                                       REPLY
                                                                           AFFIRMATION

ROBERT J. DUNPHY. SUSAN E. NEVINS,
HERTZ VEHICLES, LLC., AND HERTZ
CORPORTATION
                            Defendants.



JOELLE T. JENSEN, ESQ.. an attorney duly admitted to practice law before the Courts of the State

of New York, pursuant to CPLR 2106, duly affirms the truth of the following:

    1. I am associated with the firm of DINKES & SCHWITZER, P.C., the attorneys for the

       plaintiff ZULEIKA POLONIA herein, and as such, am fully familiar with the facts and

       circumstances surrounding this action.

   2. This declaration is respectfully submitted in reply to defendants opposition papers, as well

       as, in further support of the plaintiff’s motion seeking summary judgment on the issue of

       liability.

   3. Plaintiff respectfully submits to this Honorable Court that plaintiffs motion for summary

       judgment on liability should be granted as plaintiff POLONIA has established a prima facie

       showing of negligence. It is well-settled law that a “rear-end collision with a stopped or

       stopping vehicle creates a prima facie case of liability with respect to the operator of the

       moving vehicle and imposes a duty on that operator to come forward with a non-negligent

       explanation for the collision. Rainibrd v. Sung S. Han 18 AD3d 638 (2ndDept. 2005) to

                                                 1
      Case 1:11-cv-01563-CM Document 34 Filed 04/11/12 Page 2 of 6



   which defendant have failed to rebut with any admissible evidence. The plaintiff has

   sustained her burden of establishing a prima facie case of negligence by submitting an

   affidavit stating that her automobile came to a complete stop at a traffic light and that her

   automobile was then struck in the rear by the defendant’s vehicle.

4. The defendants’ explanation that the plaintiff came to a sudden stop for a yellow light

   after changing lanes does not raise a triable issue of fact for two reasons. Firstly, this

   argument proffered by defense counsel in his affirmation in opposition is completely

   belied by defendant DUNPHY’s own sworn testimony that plaintiff had been stopped for

   the light for 30 seconds prior to contact with his vehicle. (See Exhibit “G” Transcript of

   DUNPI-TY p. 43 annexed to plaintiffs moving papers.) Secondly, even if the court considers

   the argument that plaintiff stopped suddenly for a yellow light, that argument is insufficient

   in and of itself, to defeat the motion as the plaintiffs stop was for a traffic light and thus,

   cannot be reasonably characterized as ‘unanticipated or unexpected” especially since the

   defendant admitted the impact occurred when the light was red. (Exhibit ‘G p. 43) Indeed,

   the defendant offers no explanation whatsoever why he could not maintain sufficient

   distance behind the plaintiffs vehicle so as to avoid contact.

5. The allegation that the plaintiff acted negligently by stopping for the yellow light is

   nothing more than a gratuitous conclusion that is not supported by either the record or

   the Law.   In fact, the plaintiff had a duty to stop for the traffic Light, even assuming

   arguendo that the light was yellow when she arrived at the intersection, she was still

   within her vehicular rights to stop the vehicle. With regard to the negligence of stopping
                                                                     (
                                                                     s
                                                                     1 t
   •for yellow light, the case of Malone v. Morillo, 6 AD3d 324            Dept. 2004) is directly

   on point. In Malone. a plaintiff sustained injuries when his motor vehicle rear-ended the

                                              2
      Case 1:11-cv-01563-CM Document 34 Filed 04/11/12 Page 3 of 6



   defendant’s motor vehicle after it abruptly stopped in a light-controlled intersection.

   Defendants contended that they were stopped for a red light at the time of the occurrence

   and the injured party failed to demonstrate a non-negligent explanation for the rear-end

   collision.   The plaintiff claimed that the defendant’s vehicle suddenly stopped in the

   intersection when the traffic light was yellow. The Appellate division reversed the lower

   court and ruled that regardless of whether the defendant stopped for a yellow light, the

   plaintiff could not provide a non-negligent explanation for striking the defendant’s

   vehicle in the rear because a driver is expected to drive at a sufficiently safe speed and to

   maintain enough distance between himself and the cars ahead of him so as to avoid

   collisions and that the defendant’s act of stopping for a yellow light was not unexpected.

6. Given the fact that defendant DUNPHY testified that plaintiff had been stopped at the

   light for 30 seconds prior to contact (Exhibit “G” p. 43), contact occurred when the light

   had changed to red (Exhibit “0” p. 43) and that plaintiff was in front of his vehicle

   approximately 20 feet when the light changed from green to yellow (Exhibit “G” p.42), it

   is clear that plaintiff was in front of defendant’s vehicle for the cycle of the yellow light

   and that defendant was not being attentive to the driving condition. More importantly,

   defendants own testimony reveals that he merely presumed that the plaintiff was going to

   continue through the intersection on the yellow light and the defendant failed to slow his

   vehicle down or stop in time (Exhibit “G” p. 39) Even assuming arguendo, that the light

   was still yellow when the plaintiff arrived at the intersection, the plaintiff did absolutely

   nothing wrong, illegal or unsafe by stopping the vehicle.

7. The defendant’s reliance on Turani v. County of Suffolk, 10 NY3d 906 (2008) case is

   misplaced. In Turani the offending vehicle was operated by a police officer who abruptly

                                             3
         Case 1:11-cv-01563-CM Document 34 Filed 04/11/12 Page 4 of 6




      decelerated while changing lanes—there is no mention of having to stop for a traffic

      light. This can be contrasted with the Malone v. Morillo, supra. wherein the lead vehicle

      stopped for a yellow light, which could not be characterized as unexplained or

      unexpected.

8. Because the defendants have offered no evidentiary facts sufficient to overcome the

      presumption of negligence because of defendant DIJNPHY’s inability to maintain a safe

      speed and distance behind the plaintiffs vehicle that was stopped for a traffic light, the

      motion for summary judgment should be granted in all respects on the liability for the

      accident.

9. The failure to maintain a safe distance between two vehicles, in the absence of an adequate

      non-negligent explanation, is negligence as a matter of law    ( Aromando v New York,
      202 AD2d 617, 609 NYS2d 637 [2nd Dept 1994); Silberman v Surrey Cadillac Limousine

                  109 AD2d 833, 486 NYS2d 357 [2nd Dept 1985]).

10,      Additionally, drivers have an ongoing duty to see what should be seen and to exercise

      reasonable care under the circumstances to avoid an accident (see Johnson v Phillips, 261

      AD2d 269, 690 NYS2d 545 [1st Dept 1999] citing DeAngelis v Kirschner, 171 AD2d 593,

      567 NYS2d 457 [1st Dept 1991]). It is well established that a rear-end collision establishes

      a prima facie case of negligence on the part of the operator of the second vehicle. When

      such a rear-end collision occurs, the injured occupants of the front vehicle are entitled to

      summary judgment of liability, unless the driver of the following vehicle can provide a non

      negligent explanation for the collision (çç Johnson v Phillips, supra).

11.       In the case at bar, plaintiff has presented sufficient evidence to demonstrate that her

      vehicle was stopped at the red light when she was struck from behind by the defendants’

                                                4
            Case 1:11-cv-01563-CM Document 34 Filed 04/11/12 Page 5 of 6




         vehicle, thus it became incumbent upon the defendants to offer a non-negligent explanation

         for the collision which they failed to do so. (See Diller v City of New York Police

         Department. 269 AD2d 143. 567 NYS2d 457 [1st Dept 19911; Agramonte v City of New

         York, 288 AD2d 75, 732 NYS2d 414 [1st Dept 2001]).

   12.      In the instant manner, the defendant has failed to provide any non-negligent explanation

         for the collision that occurred.   Therefore, pursuant to Vehicle and Traffic Law   § 1129,
         defendants are negligent as a matter of law.

   WHEREFORE, your declarant respectfully requests that this Court grant the plaintiffs

   motion for Summary judgment on the issue of liability, together with such other and further

   relief as this Court deems just and proper

   Dated: New York. New York
             April 5, 2011

                                                Yours, etc.,
                                                DPKES & SCHWITZER P C


                                               BY JOELLET JENSEN
                                               Atthrneys for Plaintiffts)
                                              Lii 2 Madison Avenue
                                               New York, New York 10016
                                               (212) 683-3800




TO:
TO:
John M. Downing, Jr.
DOWNING & PECK, P.C.
Attorneys for Defendants
17 Battery Place, Suite 709
New York, New York 10004
                                                    5
          Case 1:11-cv-01563-CM Document 34 Filed 04/11/12 Page 6 of 6




(212) 514-9190



                 DOCKET NO.: 2011 -CV- 1563

                 UNITED STATES DISTRICT COURT

                 SOUTHERN DISTRICT OF NEW YORK



                 ZULEIKA POLONIA,

                                         Plaintiff(s),



                       -against-

                 ROBERT J. DUNPHY, SUSAN E. NEVINS, HERTZ VEHICLE, LLC.,

                 HERTZ CORPORATION,



                                         Defendants.



                                         REPLY



                                   D[NKES & SCHWITZER, P.C.



                                    112 Madison Avenue



                                   NEW YORK,N.Y. 10016



                                     212-685-7800




                                                         6
